               Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 1 of 19




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 6
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 7
 8                                   UNITED STATES DISTRICT COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA

10
      SHLOMO KLEIN, Individually and on Behalf of    Case No.
11    All Others Similarly Situated,
12                                                   CLASS ACTION COMPLAINT FOR
                                    Plaintiff,       VIOLATIONS OF THE FEDERAL
13                                                   SECURITIES LAWS
                              v.
14
      PINTEREST, INC., BENJAMIN SILBERMANN,
15
      and TODD MORGENFELD,
16
                                    Defendants.
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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                 Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 2 of 19




 1          Plaintiff Shlomo Klein (“Plaintiff”), individually and on behalf of all others similarly situated, by
 2   and through Plaintiff’s attorneys, alleges the following upon information and belief, except as to those
 3
     allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s information and
 4
     belief is based upon, among other things, the investigation conducted by Plaintiff’s counsel, which
 5
 6   includes without limitation: (a) review and analysis of regulatory filings made by Pinterest, Inc.

 7   (“Pinterest” or the “Company”) with the United States (“U.S.”) Securities and Exchange Commission

 8   (“SEC”); (b) review and analysis of press releases and media reports issued and disseminated by Pinterest;
 9
     and (c) review of other publicly available information concerning Pinterest.
10
                                            NATURE OF THE ACTION
11
            1.        This is a class action on behalf of persons and entities that purchased or otherwise acquired
12
13   Pinterest securities between February 4, 2021 and April 27, 2021, inclusive (the “Class Period”). Plaintiff

14   pursues claims against the Defendants under the Securities Exchange Act of 1934 (the “Exchange Act”).
15
            2.        Pinterest operates a platform that purports to provide inspiration for its users’ lives.
16
     Monthly active users (“MAUs”) are the number of Pinterest users who interact with Pinterest at least
17
     once during the 30-day period ending on the date of measurement.
18
19          3.        On April 27, 2021, after the market closed, Pinterest announced its first quarter 2021

20   financial results and reported that global monthly active users grew only 30% year-over-year to 478
21
     million, a decline from the prior quarter’s 37% year-over-year growth. During a conference call held the
22
     same day, Pinterest’s Chief Executive Officer (“CEO”) stated that “[a]s pandemic lockdowns were eased
23
     in some parts of the world during mid-March, we began to see signs of less engagement and user growth
24
25   on Pinterest.”

26          4.        On this news, the Company’s share price fell $11.25 per share, or 14.5%, to close at $66.33
27   per share on April 28, 2021, on unusually heavy trading volume.
28
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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                   Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 3 of 19




 1            5.       Throughout the Class Period, Defendants made materially false and/or misleading
 2   statements, as well as failed to disclose material adverse facts about the Company’s business, operations,
 3
     and prospects. Specifically, Defendants failed to disclose to investors that: (i) user growth was already
 4
     slowing; (ii) as a result, the Company expected user engagement to slow in the second quarter of 2021;
 5
     and (iii) as a result of the foregoing, Defendants’ positive statements about the Company’s business,
 6
 7   operations, and prospects were materially misleading and/or lacked a reasonable basis.

 8            6.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in the
 9
     market value of the Company’s securities, Plaintiff and other Class members have suffered significant
10
     losses and damages.
11
                                           JURISDICTION AND VENUE
12
13            7.       The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange Act (15

14   U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-
15   5).
16
              8.       This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §
17
     1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).
18
19            9.       Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section 27

20   of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud or the

21   effects of the fraud have occurred in this Judicial District. Many of the acts charged herein, including the
22
     dissemination of materially false and/or misleading information, occurred in substantial part in this
23
     Judicial District. In addition, the Company’s principal executive offices are located in this Judicial
24
     District.
25
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           CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 4 of 19




 1            10.    In connection with the acts, transactions, and conduct alleged herein, Defendants directly
 2   and indirectly used the means and instrumentalities of interstate commerce, including the U.S. mail,
 3
     interstate telephone communications, and the facilities of a national securities exchange.
 4
                                                     PARTIES
 5
              11.    Plaintiff, as set forth in the accompanying certification, incorporated by reference herein,
 6
 7   purchased Pinterest securities during the Class Period, and suffered damages as a result of the federal

 8   securities law violations and false and/or misleading statements and/or material omissions alleged herein.
 9
              12.    Defendant Pinterest is incorporated under the laws of Delaware with its principal
10
     executive offices located in San Francisco, California. Pinterest’s Class A common stock trades on the
11
     New York Stock Exchange (“NYSE”) under the symbol “PINS.”
12
13            13.    Defendant Benjamin Silbermann (“Silbermann”) was the Company’s CEO at all relevant

14   times.
15
              14.    Defendant Todd Morgenfeld (“Morgenfeld”) was the Company’s Chief Financial Officer
16
     at all relevant times.
17
              15.    Defendants Silbermann and Morgenfeld (collectively, the “Individual Defendants”),
18
19   because of their positions with the Company, possessed the power and authority to control the contents

20   of the Company’s reports to the SEC, press releases and presentations to securities analysts, money and
21   portfolio managers and institutional investors, i.e., the market. The Individual Defendants were provided
22
     with copies of the Company’s reports and press releases alleged herein to be misleading prior to, or
23
     shortly after, their issuance and had the ability and opportunity to prevent their issuance or cause them to
24
25   be corrected. Because of their positions and access to material non-public information available to them,

26   the Individual Defendants knew that the adverse facts specified herein had not been disclosed to, and
27   were being concealed from, the public, and that the positive representations which were being made were
28

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                    Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 5 of 19




 1   then materially false and/or misleading. The Individual Defendants are liable for the false statements
 2   pleaded herein.
 3
                16.      Pinterest and the Individual Defendants are collectively referred to herein as
 4
     “Defendants.”
 5
                                            SUBSTANTIVE ALLEGATIONS
 6
 7                                                      Background

 8              17.      Pinterest operates a platform that purports to provide inspiration for its users’ lives. MAUs
 9
     are the number of Pinterest users who interact with Pinterest at least once during the 30-day period ending
10
     on the date of measurement.
11
                       Materially False and Misleading Statements Issued During the Class Period
12
13              18.      The Class Period begins on February 4, 2021, when Pinterest announced its fourth quarter

14   and full year 2020 financial results in a press release that stated, in relevant part:
15
                     Q4 revenue grew 76% year over year to $706 million. 2020 revenue grew 48% year
16                    over year to $1,693 million.

17                   Global Monthly Active Users (MAUs) grew 37% year over year to 459 million.
18
                     GAAP net income (loss) was $208 million and $(128) million for Q4 and 2020,
19                    respectively. Adjusted EBITDA was $299 million and $305 million for Q4 and 2020,
                      respectively.
20
21              “We welcomed over 100 million additional monthly active users to Pinterest in 2020, more
                than any other year in our history, and now we reach more than 450 million monthly active
22              users around the world. I’m proud of our company and the inspiration we’ve been able to
                bring to so many lives during a trying year,” said Ben Silbermann, CEO and co-founder,
23              Pinterest.
24
                19.      That same day, Pinterest held a conference call with analysts and investors to discuss the
25
     financial results. During the call, Defendant Morgenfeld provided an outlook for the first quarter of 2021,
26
     stating:
27
28

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 6 of 19




 1          Turning to our preliminary outlook for Q1, we expect to grow revenue in the low 70s-
            percent range in Q1. As we think about Q1 and the full year, we expect positive trends
 2          from our investments in ad tools like shopping and automation, and sales coverage
 3          expansion to continue. We plan to expand our international coverage further in existing
            geographies and also expand monetization into Latin America in the first half of the year.
 4
            We also want to be mindful that we’ll be navigating a fluid landscape. We’re keeping an
 5          eye on a few things. First, the impact of COVID on users and engagement. Since COVID
            appeared, we know that more and more people have the Pinterest to find inspiration. We
 6
            could see some of that reverse if restrictions ease.
 7
     (Emphasis added.)
 8
            20.     Also on February 4, 2021, Pinterest filed its annual report on Form 10-K for the period
 9
10   ended December 31, 2020, affirming the previously reported financial results. Regarding user growth,

11   the Company stated, in relevant part:
12
            Our ecosystem of Pinners and advertisers depends on our ability to attract, grow, retain
13          and engage our user base. If we fail to add new Pinners or retain current Pinners, or if
            Pinners engage less with us, our business, revenue and financial results could be
14          harmed.
15
            We must continue to attract, grow, retain and engage our users on our platform, who we
16          call Pinners. Our active Pinners may not continue to grow, and may decline.

17          If current and potential Pinners do not perceive their experience with our service to be
            useful, or the content that we serve to them to be relevant to their personal taste and
18          interests, we may not be able to attract new Pinners, retain existing Pinners or maintain or
19          increase the frequency and duration of their engagement. In addition, if our existing Pinners
            do not continue to utilize our service or our user base does not continue to grow, we may
20          be required to incur significantly higher marketing expenses than we currently anticipate
            to add new Pinners or retain current Pinners. Pinner engagement may also fluctuate
21          depending on factors beyond our control, such as changes to daily life resulting from the
22          COVID-19 pandemic. Although we have seen higher engagement from Pinners during the
            COVID-19 pandemic, we may see lower levels of Pinner engagement once the effects of
23          the COVID-19 pandemic have subsided.
24          21.     On March 2, 2021, Defendant Morgenfeld participated in the Virtual Morgan Stanley
25
     Technology, Media and Telecom Conference, during which he stated:
26
            COVID, obviously, played a role in the trend. But given the fluid situation, it’s really hard
27          to provide a lot of color on user growth in 2021. And the way I think about it, there are
28          some factors that impact user growth this quarter and probably throughout 2021, it’s – the

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                 Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 7 of 19




 1           stickiness of that COVID cohort is still kind of unknown. These users have only been
             around for a couple of quarters, and so we’re a few quarters, so we’re monitoring all that
 2           very carefully.
 3
             And the COVID trends can change. With shutdowns and reopenings, that has an impact on
 4           monthly active users and by extension are typical seasonal patterns. It really not held
             through COVID. And if vaccines allow people to return to pre-COVID behaviors, that
 5           could adversely affect our user and engagement growth. What we’ve seen generally is that
             as restrictions become more stringent, we’ve seen an uptick in users and engagement. And
 6
             as restrictions have loosened, we’ve seen it move in the other direction.
 7
             22.      The above statements identified in ¶¶ 18-21 were materially false and/or misleading, and
 8
     failed to disclose material adverse facts about the Company’s business, operations, and prospects.
 9
10   Specifically, Defendants failed to disclose to investors that: (i) user growth was already slowing; (ii) as a

11   result, the Company expected user engagement to slow in the second quarter of 2021; and (iii) as a result
12
     of the foregoing, Defendants’ positive statements about the Company’s business, operations, and
13
     prospects were materially misleading and/or lacked a reasonable basis.
14
                                                The Truth Emerges
15
16           23.      On April 27, 2021, after the market closed, Pinterest announced its first quarter 2021

17   financial results and reported that global MAUs grew only 30% year-over-year to 478 million, a decline
18   from the prior quarter’s 37% year-over-year growth. In a press release, the Company stated, in relevant
19
     part:
20
                  Q1 revenue grew 78% year over year to $485 million.
21
22                Global Monthly Active Users (MAUs) grew 30% year over year to 478 million.

23                GAAP net loss was $(22) million for Q1. Adjusted EBITDA was $84 million for Q1.
24                                                       ***
25
             Guidance
26
             We continue to navigate uncertainty given the ongoing COVID-19 pandemic and other
27           factors. Our current expectation is that Q2 revenue will grow around 105% year over year.
28           In Q2, we expect global MAUs to grow in the mid-teens and US MAUs to be around flat

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
               Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 8 of 19




 1          on a year-over-year percentage basis. Finally, we expect sequential operating expense
            growth to accelerate in Q2 as we continue to ramp investments in our long-term initiatives
 2          and growth drivers.
 3
     (Emphasis added.)
 4
            24.     During a conference call held the same day, Pinterest’s CEO stated that “[a]s pandemic
 5
     lockdowns were eased in some parts of the world during mid-March, we began to see signs of less
 6
 7   engagement and user growth on Pinterest.”

 8          25.     On this news, the Company’s share price fell $11.25 per share, or 14.5%, to close at $66.33
 9
     per share on April 28, 2021, on unusually heavy trading volume.
10
                               PLAINTIFF’S CLASS ACTION ALLEGATIONS
11
            26.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil Procedure
12
13   23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased or otherwise

14   acquired Pinterest securities during the Class Period, and who were damaged thereby (the “Class”).
15
     Excluded from the Class are Defendants, the officers and directors of the Company, at all relevant times,
16
     members of their immediate families and their legal representatives, heirs, successors, or assigns, and any
17
     entity in which Defendants have or had a controlling interest.
18
19          27.     The members of the Class are so numerous that joinder of all members is impracticable.

20   Throughout the Class Period, Pinterest’s shares actively traded on the NYSE. While the exact number
21   of Class members is unknown to Plaintiff at this time and can only be ascertained through appropriate
22
     discovery, Plaintiff believes that there are at least hundreds or thousands of members in the proposed
23
     Class. Millions of Pinterest shares were traded publicly during the Class Period on the NYSE. Record
24
25   owners and other members of the Class may be identified from records maintained by Pinterest or its

26   transfer agent and may be notified of the pendency of this action by mail, using the form of notice similar
27   to that customarily used in securities class actions.
28

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                 Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 9 of 19




 1             28.    Plaintiff’s claims are typical of the claims of the members of the Class as all members of
 2   the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that is
 3
     complained of herein.
 4
               29.    Plaintiff will fairly and adequately protect the interests of the members of the Class and
 5
     has retained counsel competent and experienced in class and securities litigation.
 6
 7             30.    Common questions of law and fact exist as to all members of the Class and predominate

 8   over any questions solely affecting individual members of the Class. Among the questions of law and
 9
     fact common to the Class are:
10
                      (a)    whether the federal securities laws were violated by Defendants’ acts as alleged
11
     herein;
12
13                    (b)    whether statements made by Defendants to the investing public during the Class

14   Period omitted and/or misrepresented material facts about the business, operations, and prospects of
15
     Pinterest; and
16
                      (c)    to what extent the members of the Class have sustained damages and the proper
17
     measure of damages.
18
19             31.    A class action is superior to all other available methods for the fair and efficient

20   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
21   damages suffered by individual Class members may be relatively small, the expense and burden of
22
     individual litigation makes it impossible for members of the Class to individually redress the wrongs done
23
     to them. There will be no difficulty in the management of this action as a class action.
24
25                                      UNDISCLOSED ADVERSE FACTS

26             32.    The market for Pinterest’s securities was open, well-developed, and efficient at all relevant
27   times. As a result of these materially false and/or misleading statements, and/or failures to disclose,
28

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 10 of 19




 1   Pinterest’s securities traded at artificially inflated prices during the Class Period. Plaintiff and other
 2   members of the Class purchased or otherwise acquired Pinterest’s securities relying upon the integrity of
 3
     the market price of the Company’s securities and market information relating to Pinterest, and have been
 4
     damaged thereby.
 5
            33.     During the Class Period, Defendants materially misled the investing public, thereby
 6
 7   inflating the price of Pinterest’s securities, by publicly issuing false and/or misleading statements and/or

 8   omitting to disclose material facts necessary to make Defendants’ statements, as set forth herein, not false
 9
     and/or misleading. The statements and omissions were materially false and/or misleading because they
10
     failed to disclose material adverse information and/or misrepresented the truth about Pinterest’s business,
11
     operations, and prospects as alleged herein.
12
13          34.     At all relevant times, the material misrepresentations and omissions particularized in this

14   Complaint directly or proximately caused or were a substantial contributing cause of the damages
15
     sustained by Plaintiff and other members of the Class. As described herein, during the Class Period,
16
     Defendants made or caused to be made a series of materially false and/or misleading statements about
17
     Pinterest’s financial well-being and prospects. These material misstatements and/or omissions had the
18
19   cause and effect of creating in the market an unrealistically positive assessment of the Company and its

20   financial well-being and prospects, thus causing the Company’s securities to be overvalued and
21   artificially inflated at all relevant times. Defendants’ materially false and/or misleading statements during
22
     the Class Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities
23
     at artificially inflated prices, thus causing the damages complained of herein when the truth was revealed.
24
25                                              LOSS CAUSATION

26          35.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused the
27   economic loss suffered by Plaintiff and the Class.
28

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 11 of 19




 1          36.     During the Class Period, Plaintiff and the Class purchased Pinterest’s securities at
 2   artificially inflated prices and were damaged thereby. The price of the Company’s securities significantly
 3
     declined when the misrepresentations made to the market, and/or the information alleged herein to have
 4
     been concealed from the market, and/or the effects thereof, were revealed, causing investors’ losses.
 5
                                          SCIENTER ALLEGATIONS
 6
 7          37.     As alleged herein, Defendants acted with scienter since Defendants knew that the public

 8   documents and statements issued or disseminated in the name of the Company were materially false
 9
     and/or misleading; knew that such statements or documents would be issued or disseminated to the
10
     investing public; and knowingly and substantially participated or acquiesced in the issuance or
11
     dissemination of such statements or documents as primary violations of the federal securities laws. As
12
13   set forth elsewhere herein in detail, the Individual Defendants, by virtue of their receipt of information

14   reflecting the true facts regarding Pinterest, their control over, and/or receipt and/or modification of
15
     Pinterest’s allegedly materially misleading misstatements and/or their associations with the Company
16
     which made them privy to confidential proprietary information concerning Pinterest, participated in the
17
     fraudulent scheme alleged herein.
18
19                         APPLICABILITY OF PRESUMPTION OF RELIANCE
                               (FRAUD-ON-THE-MARKET DOCTRINE)
20
            38.     The market for Pinterest’s securities was open, well-developed, and efficient at all relevant
21
22   times. As a result of the materially false and/or misleading statements and/or failures to disclose,

23   Pinterest’s securities traded at artificially inflated prices during the Class Period. On February 16, 2021,
24   the Company’s share price closed at a Class Period high of $89.15 per share. Plaintiff and other members
25
     of the Class purchased or otherwise acquired the Company’s securities relying upon the integrity of the
26
     market price of Pinterest’s securities and market information relating to Pinterest, and have been damaged
27
28   thereby.

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 12 of 19




 1          39.     During the Class Period, the artificial inflation of Pinterest’s shares was caused by the
 2   material misrepresentations and/or omissions particularized in this Complaint causing the damages
 3
     sustained by Plaintiff and other members of the Class. As described herein, during the Class Period,
 4
     Defendants made or caused to be made a series of materially false and/or misleading statements about
 5
     Pinterest’s business, prospects, and operations. These material misstatements and/or omissions created
 6
 7   an unrealistically positive assessment of Pinterest and its business, operations, and prospects, thus causing

 8   the price of the Company’s securities to be artificially inflated at all relevant times, and when disclosed,
 9
     negatively affected the value of the Company’s shares. Defendants’ materially false and/or misleading
10
     statements during the Class Period resulted in Plaintiff and other members of the Class purchasing the
11
     Company’s securities at such artificially inflated prices, and each of them has been damaged as a result.
12
13          40.     At all relevant times, the market for Pinterest’s securities was an efficient market for the

14   following reasons, among others:
15
                    (a)     Pinterest shares met the requirements for listing, and were listed and actively
16
     traded on the NYSE, a highly efficient and automated market;
17
                    (b)     As a regulated issuer, Pinterest filed periodic public reports with the SEC and/or
18
19   the NYSE;

20                  (c)     Pinterest regularly communicated with public investors via established market
21   communication mechanisms, including through regular dissemination of press releases on the national
22
     circuits of major newswire services and through other wide-ranging public disclosures, such as
23
     communications with the financial press and other similar reporting services; and/or
24
25                  (d)     Pinterest was followed by securities analysts employed by brokerage firms who

26   wrote reports about the Company, and these reports were distributed to the sales force and certain
27
28

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 13 of 19




 1   customers of their respective brokerage firms. Each of these reports was publicly available and entered
 2   the public marketplace.
 3
            41.     As a result of the foregoing, the market for Pinterest’s securities promptly digested current
 4
     information regarding Pinterest from all publicly available sources and reflected such information in
 5
     Pinterest’s share price. Under these circumstances, all purchasers of Pinterest’s securities during the
 6
 7   Class Period suffered similar injury through their purchase of Pinterest’s securities at artificially inflated

 8   prices and a presumption of reliance applies.
 9
            42.     A Class-wide presumption of reliance is also appropriate in this action under the Supreme
10
     Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), because the
11
     Class’s claims are, in large part, grounded on Defendants’ material misstatements and/or omissions.
12
13   Because this action involves Defendants’ failure to disclose material adverse information regarding the

14   Company’s business operations and financial prospects—information that Defendants were obligated to
15
     disclose—positive proof of reliance is not a prerequisite to recovery. All that is necessary is that the facts
16
     withheld be material in the sense that a reasonable investor might have considered them important in
17
     making investment decisions. Given the importance of the Class Period material misstatements and
18
19   omissions set forth above, that requirement is satisfied here.

20                                              NO SAFE HARBOR
21          43.     The statutory safe harbor provided for forward-looking statements under certain
22
     circumstances does not apply to any of the allegedly false statements pleaded in this Complaint. The
23
     statements alleged to be false and misleading herein all relate to then-existing facts and conditions. In
24
25   addition, to the extent certain of the statements alleged to be false may be characterized as forward

26   looking, they were not identified as “forward-looking statements” when made and there were no
27   meaningful cautionary statements identifying important factors that could cause actual results to differ
28

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 14 of 19




 1   materially from those in the purportedly forward-looking statements. In the alternative, to the extent that
 2   the statutory safe harbor is determined to apply to any forward-looking statements pleaded herein,
 3
     Defendants are liable for those false forward-looking statements because at the time each of those
 4
     forward-looking statements was made, the speaker had actual knowledge that the forward-looking
 5
     statement was materially false or misleading, and/or the forward-looking statement was authorized or
 6
 7   approved by an executive officer of Pinterest who knew that the statement was false when made.

 8                                                   COUNT I
 9   (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder Against
10                                             All Defendants)

11          44.      Plaintiff repeats and re-alleges each and every allegation contained above as if fully set
12   forth herein.
13
            45.      During the Class Period, Defendants carried out a plan, scheme and course of conduct
14
     which was intended to and, throughout the Class Period, did: (i) deceive the investing public, including
15
16   Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and other members of the

17   Class to purchase Pinterest’s securities at artificially inflated prices. In furtherance of this unlawful
18   scheme, plan and course of conduct, Defendants, and each defendant, took the actions set forth herein.
19
            46.      Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made untrue
20
     statements of material fact and/or omitted to state material facts necessary to make the statements not
21
22   misleading; and (iii) engaged in acts, practices, and a course of business which operated as a fraud and

23   deceit upon the purchasers of the Company’s securities in an effort to maintain artificially high market

24   prices for Pinterest’s securities in violation of Section 10(b) of the Exchange Act and Rule 10b-5. All
25
     Defendants are sued either as primary participants in the wrongful and illegal conduct charged herein or
26
     as controlling persons as alleged below.
27
28

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 15 of 19




 1          47.     Defendants, individually and in concert, directly and indirectly, by the use, means or
 2   instrumentalities of interstate commerce and/or of the mails, engaged and participated in a continuous
 3
     course of conduct to conceal adverse material information about Pinterest’s financial well-being and
 4
     prospects, as specified herein.
 5
            48.     Defendants employed devices, schemes and artifices to defraud, while in possession of
 6
 7   material adverse non-public information and engaged in acts, practices, and a course of conduct as alleged

 8   herein in an effort to assure investors of Pinterest’s value and performance and continued substantial
 9
     growth, which included the making of, or the participation in the making of, untrue statements of material
10
     facts and/or omitting to state material facts necessary in order to make the statements made about Pinterest
11
     and its business operations and future prospects in light of the circumstances under which they were
12
13   made, not misleading, as set forth more particularly herein, and engaged in transactions, practices and a

14   course of business which operated as a fraud and deceit upon the purchasers of the Company’s securities
15
     during the Class Period.
16
            49.     Each of the Individual Defendants’ primary liability and controlling person liability arises
17
     from the following facts: (i) the Individual Defendants were high-level executives and/or directors at the
18
19   Company during the Class Period and members of the Company’s management team or had control

20   thereof; (ii) each of these defendants, by virtue of their responsibilities and activities as a senior officer
21   and/or director of the Company, was privy to and participated in the creation, development and reporting
22
     of the Company’s internal budgets, plans, projections and/or reports; (iii) each of these defendants
23
     enjoyed significant personal contact and familiarity with the other defendants and was advised of, and
24
25   had access to, other members of the Company’s management team, internal reports and other data and

26   information about the Company’s finances, operations, and sales at all relevant times; and (iv) each of
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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 16 of 19




 1   these defendants was aware of the Company’s dissemination of information to the investing public which
 2   they knew and/or recklessly disregarded was materially false and misleading.
 3
            50.     Defendants had actual knowledge of the misrepresentations and/or omissions of material
 4
     facts set forth herein, or acted with reckless disregard for the truth in that they failed to ascertain and to
 5
     disclose such facts, even though such facts were available to them.             Such defendants’ material
 6
 7   misrepresentations and/or omissions were done knowingly or recklessly and for the purpose and effect

 8   of concealing Pinterest’s financial well-being and prospects from the investing public and supporting the
 9
     artificially inflated price of its securities. As demonstrated by Defendants’ overstatements and/or
10
     misstatements of the Company’s business, operations, financial well-being, and prospects throughout the
11
     Class Period, Defendants, if they did not have actual knowledge of the misrepresentations and/or
12
13   omissions alleged, were reckless in failing to obtain such knowledge by deliberately refraining from

14   taking those steps necessary to discover whether those statements were false or misleading.
15
            51.     As a result of the dissemination of the materially false and/or misleading information
16
     and/or failure to disclose material facts, as set forth above, the market price of Pinterest’s securities was
17
     artificially inflated during the Class Period. In ignorance of the fact that market prices of the Company’s
18
19   securities were artificially inflated, and relying directly or indirectly on the false and misleading

20   statements made by Defendants, or upon the integrity of the market in which the securities trade, and/or
21   in the absence of material adverse information that was known to or recklessly disregarded by
22
     Defendants, but not disclosed in public statements by Defendants during the Class Period, Plaintiff and
23
     the other members of the Class acquired Pinterest’s securities during the Class Period at artificially high
24
25   prices and were damaged thereby.

26          52.     At the time of said misrepresentations and/or omissions, Plaintiff and other members of
27   the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the other members
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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 17 of 19




 1   of the Class and the marketplace known the truth regarding the problems that Pinterest was experiencing,
 2   which were not disclosed by Defendants, Plaintiff and other members of the Class would not have
 3
     purchased or otherwise acquired their Pinterest securities, or, if they had acquired such securities during
 4
     the Class Period, they would not have done so at the artificially inflated prices which they paid.
 5
            53.      By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act and
 6
 7   Rule 10b-5 promulgated thereunder.

 8          54.      As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the other
 9
     members of the Class suffered damages in connection with their respective purchases and sales of the
10
     Company’s securities during the Class Period.
11
                                                     COUNT II
12
13           (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

14          55.      Plaintiff repeats and re-alleges each and every allegation contained above as if fully set
15   forth herein.
16
            56.      The Individual Defendants acted as controlling persons of Pinterest within the meaning of
17
     Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and their
18
19   ownership and contractual rights, participation in, and/or awareness of the Company’s operations and

20   intimate knowledge of the false financial statements filed by the Company with the SEC and disseminated

21   to the investing public, the Individual Defendants had the power to influence and control and did influence
22
     and control, directly or indirectly, the decision-making of the Company, including the content and
23
     dissemination of the various statements which Plaintiff contends are false and misleading. The Individual
24
     Defendants were provided with or had unlimited access to copies of the Company’s reports, press
25
26   releases, public filings, and other statements alleged by Plaintiff to be misleading prior to and/or shortly

27   after these statements were issued and had the ability to prevent the issuance of the statements or cause
28
     the statements to be corrected.
                                         16
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
              Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 18 of 19




 1          57.     In particular, the Individual Defendants had direct and supervisory involvement in the day-
 2   to-day operations of the Company and, therefore, had the power to control or influence the particular
 3
     transactions giving rise to the securities violations as alleged herein, and exercised the same.
 4
            58.     As set forth above, Defendants each violated Section 10(b) of the Exchange Act and Rule
 5
     10b-5 promulgated thereunder by their acts and omissions as alleged in this Complaint. By virtue of their
 6
 7   position as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

 8   Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other
 9
     members of the Class suffered damages in connection with their purchases of the Company’s securities
10
     during the Class Period.
11
                                             PRAYER FOR RELIEF
12
13          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

14          A.      Determining that this action is a proper class action under Rule 23 of the Federal Rules of
15   Civil Procedure;
16
            B.      Awarding compensatory damages in favor of Plaintiff and the other Class members
17
     against all defendants, jointly and severally, for all damages sustained as a result of Defendants’
18
19   wrongdoing, in an amount to be proven at trial, including interest thereon;

20          C.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in this

21   action, including counsel fees and expert fees; and
22
            D.      Granting such other and further relief as the Court may deem just and proper.
23
                                           JURY TRIAL DEMANDED
24
            Plaintiff hereby demands a trial by jury.
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26
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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
             Case 5:21-cv-04220-LHK Document 1 Filed 06/03/21 Page 19 of 19




 1   Dated: June 3, 2021                      Respectfully submitted,

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       CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
